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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                       :
                                                       :
    In re                                              :   Chapter 11
                                                       :
    FTX TRADING LTD., et al., 1                        :   Case No. 22-11068 (JTD)
                                                       :   (Jointly Administered)
            Debtors.                                   :
                                                       :
                                                       :   Hearing Date: July 17, 2024 @ 1:00 p.m. (ET)
                                                       :   Obj. Deadline: June 24, 2024 @ 5:00 p.m. (ET)
                                                       :
                                                       :

        NOTICE OF EXAMINER’S MOTION FOR (I) AUTHORITY TO CONDUCT
       ADDITIONAL INVESTIGATIONS AND (II) AN ORDER ESTABLISHING THE
       SCOPE, COST, DEGREE, AND DURATION OF THE SECOND PHASE OF THE
                EXAMINATION AND GRANTING RELATED RELIEF

             PLEASE TAKE NOTICE that on June 10, 2024, Robert J. Cleary, in his capacity as

examiner appointed in the above-captioned bankruptcy cases (the “Chapter 11 Cases”), filed the

attached Examiner’s Motion For (I) Authority to Conduct Additional Investigations and (II) An

Order Establishing the Scope, Cost, Degree, and Duration of the Second Phase of the

Examination and Granting Related Relief (the “Motion”) with the United States Bankruptcy

Court for the District of Delaware (the “Bankruptcy Court”).

             PLEASE TAKE FURTHER NOTICE that a hearing on the Motion will be held on

July 17, 2024, at 1:00 p.m. (Eastern Time) before the Honorable John T. Dorsey, United States


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         The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers
are 3288 and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a
complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
noticing agent at https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent
Fidelity Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua
and Barbuda.
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Bankruptcy Judge for the District of Delaware, 824 North Market Street, 5th Floor, Courtroom 5,

Wilmington, Delaware 19801.

       PLEASE TAKE FURTHER NOTICE that any responses to the Motion must be in

writing, filed with the Clerk of the Bankruptcy Court, 824 North Market Street, Third Floor,

Wilmington, Delaware 19801, and served upon the undersigned, so as to be received on or

before June 24, 2024, at 5:00 p.m. (Eastern Time).

       IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE

COURT MAY GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT

FURTHER NOTICE OR HEARING.




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Dated: June 10, 2024                      Respectfully submitted,

                                          ASHBY & GEDDES, P.A.

                                          By:     /s/ Michael D. DeBaecke

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                                          500 Delaware Avenue, 8th Floor
                                          Wilmington, DE 19801
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                                          -and-

                                          PATTERSON BELKNAP WEBB &
                                          TYLER LLP

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                                          Counsel to Robert J. Cleary in his capacity
                                          as Examiner appointed in the Chapter 11
                                          Cases




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